      Case: 1:10-cv-04691 Document #: 1 Filed: 07/27/10 Page 1 of 9 PageID #:1



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

JAVIER SANTIAGO,                                  )
                                                  )
                     Plaintiff,                   )
                                                  )        Case No. 10-4691
       vs.                                        )
                                                  )
SERGEANT RONAN, Star No. 2040,                    )        JURY TRIAL DEMANDED
P.O. MICHAEL TEWS, Star No. 10773,                )
P.O. G. MOUSSA, Star No. 5509,                    )
KEN SAHNAS, Star No. 331, P.O. NOEL               )
LIBOY, Star No. 13447, P.O. M.K. DROZD,           )
Star No. 19034, P.O. A.A. COLINDRES,              )
Star No. 19764, P.O. T.A. SURMA, Star             )
No. 7993, D.M. DOWD, Star No. 789, and the        )
CITY OF CHICAGO,                                  )
                                                  )
                     Defendants.                  )

                                       COMPLAINT

       NOW COMES the Plaintiff in the above-captioned case, JAVIER SANTIAGO

(“SANTIAGO”), by and through his attorney, and complains against the Defendants,

SERGEANT RONAN, Star No. 2040, P.O. MICHAEL TEWS, Star No. 10773, P.O. G.

MOUSSA, Star No. 5509, KEN SAHNAS, Star No. 331, P.O. NOEL LIBOY, Star No. 13447,

P.O. M.K. DROZD, Star No. 19034, P.O. A.A. COLINDRES, Star No. 19764, P.O. T.A.

SURMA, Star No. 7993, D.M. DOWD, Star No. 789, and the CITY OF CHICAGO, and each of

them, as follows:

                                    Nature of the Action

       1.     This is an action for money damages brought pursuant to 42 U.S.C. §§ 1983 and

1988, and the Fourth and Fourteenth Amendments to the United States Constitution, against


                                              1
       Case: 1:10-cv-04691 Document #: 1 Filed: 07/27/10 Page 2 of 9 PageID #:2



Officers RONAN, TEWS, MOUSSA, SAHNAS, LIBOY, DROZD, COLINDRES, SURMA,

and DOWD, police officers of the CITY OF CHICAGO, in their individual capacities and

against the CITY OF CHICAGO, based upon indemnification.

                                      Jurisdiction and Venue

        2.      This Court has jurisdiction over the subject matter of this action under Sections

1331, 1343(a)(3) and (4), and 1367 of Title 28 of the United States Code because this action

arises under the Constitution and laws of the United States, and because it is brought to redress

the deprivation of the Plaintiff’s federal constitutional rights.

        3.     Venue is proper in this District under Section 1391(b)(1) and (2) of Title 28 of the

United States Code because all events and omissions giving rise to this action occurred within

the Northern District of Illinois and because the Defendants reside within the Northern District

of Illinois.

                                               Parties

        4.     The Plaintiff is a citizen of the United States and the State of Illinois.

        5.     Defendants, RONAN, TEWS, MOUSSA, SAHNAS, LIBOY, DROZD,

COLINDRES, SURMA, and DOWD, are citizens of the United States and the State of Illinois.

At all times material, they were employed as police officers by the Defendant CITY OF

CHICAGO. As police officers, they each have and, in fact, exercised the authority to effect

arrests, cause incarceration, and commence or cause the commencement of criminal

prosecutions. For the purposes of the federal law claims asserted in this action, they are sued in

their individual capacities only. At all times and in all matters material, they acted under the

color of the law of the State of Illinois and within the scope of their respective duties in


                                                   2
       Case: 1:10-cv-04691 Document #: 1 Filed: 07/27/10 Page 3 of 9 PageID #:3



connection with their employment by the City of Chicago.

       6.      The Defendant City of Chicago (“CITY”) is a municipal corporation operating

under the Constitution and laws of the State of Illinois. As such, it operates a police force

authorized to enforce the laws of the State of Illinois and its own municipal ordinances. At all

times material, it employed the Defendants Officers RONAN, TEWS, MOUSSA, SAHNAS,

LIBOY, DROZD, COLINDRES, SURMA, and DOWD, as police officers and governed and

regulated said Defendants in the exercise of their official duties and the course of their

employment.


                                       General Allegations

       7.      In this action, SANTIAGO seeks damages arising out of the constitutionally

violative prosecution, arrest, detention, incarceration, and searches of Plaintiff’s person on and

after July 27, 2008.

       8.      On July 27, 2008, Chicago Police Officers, including officers TEWS and

MOUSSA stopped, without probable cause, the car in which Plaintiff was driving and then

proceeded to search, without probable cause, Plaintiff’s automobile. TEWS and MOUSSA later

falsely claimed, on police reports, that police had received an alleged “tip” from an anonymous

caller reporting that Plaintiff was in possession of a gun in his car. Upon receiving the “tip”

which was neither reliable nor corroborated, RONAN allegedly set up a “surveillance” for

Plaintiff, pursuant to which, Plaintiff was stopped by TEWS and MOUSSA.

       9.      During the search of the automobile, TEWS told Plaintiff that TEWS was going

to plant a gun on Plaintiff in order to create a violation of parole. During the stop and detention

of Plaintiff and while Plaintiff was in handcuffs, MOUSSA slapped Plaintiff in the face with his

                                                  3
       Case: 1:10-cv-04691 Document #: 1 Filed: 07/27/10 Page 4 of 9 PageID #:4



open hand.

        10.    Although Plaintiff did not have a gun in his car at the time of the search, TEWS

and MOUSSA claimed that a gun was, in fact, found in the automobile. Plaintiff was charged

with possession of a handgun, issued tickets for littering from a motor vehicle, not having a valid

driver’s license and operating an uninsured motor vehicle, and was incarcerated for a period of a

year while he was awaiting trial, which otherwise would not have occurred but for TEWS’ and

MOUSSA’s false allegations and/or RONAN’s fraudulent surveillance.

        11.    SAHNAS, who was the Watch Commander and “approving supervisor” on duty,

falsely approved probable cause. DOWD finally, and falsely, approved the charges made against

Plaintiff. LIBOY, DROZD, COLINDRES, and SURMA participated in the false arrest of

Plaintiff.

        12.    On July 27, 2010, after a bench trial, Plaintiff was acquitted of the charges and

was released from custody.

        13.    As a result of the false charges brought and/or allegations made by the Defendant

officers, Plaintiff was taken into custody, booked, subjected to search and other humiliations,

and incarcerated for a year while awaiting trial.

        14.    RONAN, TEWS, MOUSSA, SAHNAS, LIBOY, DROZD, COLINDRES,

SURMA, and DOWD, acted herein, at all relevant times, with the specific intent that Plaintiff

suffer each of the indignities herein described.

        15.    Defendants RONAN, TEWS, MOUSSA, SAHNAS, LIBOY, DROZD,

COLINDRES, SURMA, and DOWD caused Plaintiff’s arrest, detention, incarceration, the

personal searches, and the commencement of his subsequent criminal prosecution with a


                                                    4
       Case: 1:10-cv-04691 Document #: 1 Filed: 07/27/10 Page 5 of 9 PageID #:5



complete and reckless disregard or indifference for Plaintiff’s constitutional rights.

       16.     As a direct and proximate result of the Defendants’ actions, Plaintiff has suffered

the following injuries and damages:

       a.      Violation of his constitutional rights under the Fourth and Fourteenth
               Amendments to the United States Constitution to be free from unreasonable
               searches and seizure of his person and to be accorded equal protection of the law;

       b.      Loss of physical liberty;

       c.      Emotional trauma and suffering;

       d.      Attorney’s fees and costs.

       17.     The actions of the Defendant officers, and each of them, violated clearly

established and well-settled federal constitutional rights of Plaintiff, namely to be free from

unreasonable searches and seizures of her person and to be assured the equal protection of the

law.

       Count I – Violation of Civil Rights - Fourth Amendment Searches and Seizure

       18.     The Plaintiff hereby incorporates the allegations contained in paragraphs 1

through 17 of this Complaint as if restated in full in this Count I.

       19.     As described herein, by swearing out false complaints and perpetuating false

testimony against Plaintiff, by unlawfully detaining and arresting Plaintiff, without probable

cause, by unlawfully searching Plaintiff and his automobile, without probable cause, by

unlawfully subjecting Plaintiff to surveillance, without probable cause, by approving charges

against Plaintiff, without probable cause, and by using excessive and unlawful force against

Plaintiff, Defendants RONAN, TEWS, MOUSSA, SAHNAS, and DOWD violated Plaintiff’s

right to be free from unreasonable searches and seizure, absent probable cause to believe that he


                                                  5
       Case: 1:10-cv-04691 Document #: 1 Filed: 07/27/10 Page 6 of 9 PageID #:6



had committed the crimes charged and deprived Plaintiff of the rights secured to him by the

Fourth Amendment to the United States Constitution, as made applicable to the Defendants by

the due process clause of the Fourteenth Amendment.

       20.     As a direct and proximate result of the Defendants’ actions, Plaintiff suffered

unlawful detention of his person for one year, extreme mental anguish, embarrassment,

humiliation, and physical injury.

       WHEREFORE the Plaintiff demands a trial by jury and respectfully requests that this

Court award to him and against each of the Defendants, RONAN, TEWS, MOUSSA, SAHNAS,

and DOWD, jointly and severally:

       A.      Nominal damages in an amount to be determined at trial;

       B.      Compensatory damages in an amount to be established at trial;

       C.      Punitive damages in an amount to be determined at trial;

       D.      His reasonable attorneys’ fees pursuant to Section 1988 of Title 42 of the United

               States Code, in an amount to be established at an appropriate hearing; and

       E.      Such other and further relief as this Court shall deem just and proper.


                                   Count II – 42 U.S.C. § 1983
                                 Fourth Amendment Conspiracy

       21.     The Plaintiff hereby incorporates the allegations contained in paragraphs 1

through 17 of this Complaint as if restated in full in this Count II.

       22.     At all relevant times, the Plaintiff enjoyed and possessed a right under the Fourth

Amendment to be free from unreasonable searches and seizures and to be secure in his personal

effects and property.


                                                  6
       Case: 1:10-cv-04691 Document #: 1 Filed: 07/27/10 Page 7 of 9 PageID #:7



        23.     At all relevant times, the Defendants, RONAN, TEWS, MOUSSA, SAHNAS,

LIBOY, DROZD, COLINDRES, SURMA, and DOWD, as well as-yet unknown co-conspirators,

accomplished an unlawful result through individual and/or concerted action, including excess force

and/or failing to intervene in the use of excess force against the Plaintiff, agreeing not to report each

other after witnessing and/or using excess force relative to the Plaintiff, generating false

documentation to cover-up for their own and each other’s misconduct, and ignoring the falsification

of documents and perjury and failing to intervene to bring the falsification and perjury to light and

have it corrected so as not to cause injury to the Plaintiff, in that, they agreed, through explicit or

implicit means, to effect the unlawful detention and arrest of the Plaintiff without lawful authority

in the form of reasonable articulable suspicion, probable cause, a judicial warrant or writ, and to

effect the excessive force as herein described.

        24.     In furtherance of said agreement, Defendants RONAN, TEWS, MOUSSA,

SAHNAS, LIBOY, DROZD, COLINDRES, SURMA, and DOWD, unlawfully detained, arrested,

and falsely charged the Plaintiff, Defendants RONAN, TEWS, and MOUSSA manufactured and

fabricated evidence against Plaintiff, and Defendant MOUSSA utilized excessive and unlawful force

against Plaintiff. Defendants acted in concert to deprive Plaintiff of his constitutional rights.

        25.     At all times relevant hereto, the Defendants RONAN, TEWS, MOUSSA, SAHNAS,

LIBOY, DROZD, COLINDRES, SURMA, and DOWD, were acting under color of law, and their

individual and/or concerted conduct as described herein was done with deliberate indifference to the

rights of the Plaintiff.

        26.     As a direct and proximate result of Officers RONAN, TEWS, MOUSSA, SAHNAS,

LIBOY, DROZD, COLINDRES, SURMA, and DOWD, and each of them, intentionally, knowingly,


                                                   7
       Case: 1:10-cv-04691 Document #: 1 Filed: 07/27/10 Page 8 of 9 PageID #:8



unlawfully and unconscionably acting in the manner aforesaid, Plaintiff has and will suffer lost

wages, benefits and entitlements, damage to his reputation, pain suffering, and humiliation and

severe emotional distress and has been deprived of certain rights and privileges as a citizen of the

United States.

       WHEREFORE the Plaintiff demands a trial by jury and respectfully requests that this

Court award to him and against Defendants RONAN, TEWS, MOUSSA, SAHNAS, LIBOY,

DROZD, COLINDRES, SURMA, and DOWD, and each of them:

       A.        Nominal damages in an amount to be determined at trial;

       B.        Compensatory damages in an amount to be established at trial;

       C.        Punitive damages in an amount to be determined at trial;

       D.        His reasonable attorneys’ fees pursuant to Section 1988 of Title 42 of the United
                 States Code, in an amount to be established at an appropriate hearing; and

       E.        Such other and further relief as this Court shall deem just and proper, awarding
                 compensatory damages and attorneys* fees, along with punitive damages against
                 Officers TEWS, RONAN, and MOUSSA, and any other relief this Court deems
                 appropriate and just.

                                 Count III – State Law - Indemnity

       27.       The Plaintiff hereby incorporates the allegations contained in paragraphs 1

through 17 of this Complaint as if restated in full in this Count III.

       28.       At all relevant times, Defendants, RONAN, TEWS, MOUSSA, SAHNAS,

LIBOY, DROZD, COLINDRES, SURMA, and DOWD, and each of them, were acting on behalf

of and/or within the scope of their employment with the Defendant, CITY OF CHICAGO.

       29.       As a result of the Defendants’ conduct, as described herein, Plaintiff is seeking

monetary damages, attorney’s fees and costs.


                                                  8
      Case: 1:10-cv-04691 Document #: 1 Filed: 07/27/10 Page 9 of 9 PageID #:9



       30.     Illinois directs local public entities to pay any tort judgment or settlement for

which it or an employee, while acting within the scope of his employment, is liable. 745 ILCS

10/9-101 (West 2007).

       WHEREFORE, the Plaintiff demands judgment against the Defendant CITY OF

CHICAGO as indemnor, for compensatory damages awarded against or agreed to be paid by the

Defendants, RONAN, TEWS, MOUSSA, SAHNAS, LIBOY, DROZD, COLINDRES, SURMA,

and DOWD, and each of them, as such amounts may be adjudged or determined, that any law

enforcement, court or other official record created or generated as a result of the unconstitutional

acts alleged herein be expunged, and any other relief the Court deems just and appropriate.


                                              Respectfully submitted,
                                              JAVIER SANTIAGO


                                              s/ Deidre Baumann
                                              _______________________________
                                              By:    One of His Attorneys
   Baumann & Shuldiner
   20 South Clark Street, Suite 500
   Chicago, Illinois 60603

   (312) 558-3119




                                                 9
